

ORDER

PER CURIAM:
AND NOW, this 21st day of May, 1998, there having been filed with this Court by George Kedala Tita his verified Statement of Resignation dated April 16,1998, stating that he desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa. R.D.E., it is
ORDERED that the resignation of George Kedala Tita be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that he shall comply with the provisions of Rule 217, Pa. R.D.E. Respondent shall pay costs, if any, to *610the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
